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                   ,l .JOJNT RESOLUTION OF THE 54m LEGISLATURE,

                               STATE OF ARIZONA
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THE 116111 CONGRESS, OFFICE OF THE PRESIDENT OF THE SENATE, PRESIDING.



WHEREAS, it is the constitutional and legal obligation of the Legislature of the State of Arizona
to ensure that the state's presidential electors truly represent the will of the voters of Arizona; mill



WHEREAS, pursuant to the direction of Congress as set forth in United States Code, title 3, section
I as authorized by Article II, section 1, clause 4 of the Constitution of the United States, and state
law adopted pursuant thereto, Arizona conducted an election for presidential electors on the
Tuesday next after the first Monday in November of 2020- that is, 011 November 3, 2020; and



WHEREAS, that election was marred by irregularities so significant as to render it highly doubtfuJ
whether the certified results accurately represent the will of the voters: nnd



WHEREAS, Congress has further directed in U.S. Code, title 3, section 2 that when a state "has
held a11 election for the purpose of choosing electors, and has failed to make a choice on the day
prescribed by law, the electors may he appointed on a subsequent day in such manner as the
legislature of such State may direct"; and




                                             EXHIBIT A
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WHEREAS that provi ion implicitly recognizes that Article II, Section 1 Clau. e 2 of the U .S.
Constitution grant. to each tale legislature, with tated limitations, the sole authority to prescribe
the manner of appointing elector for that state; and




WHEREAS the United tates Supreme Court and other courts have explained that when a . tate
legi lature direct. the manner of appointing electors, it doCj    o pursuant to a grant of authority
from the U.S . Constitution rather than by reason of any slate constitutional or other legal provision;
that thi. authority may be exercised by the Jegi lature alone without other a pect. of the normal
lawmaking proce ; and that the tate legi lature . authority over the appointment of pre idential
electors L plenary and may be resumed at any time; and



WHEREAS becau e U.S. Code, title 3 . ection 7 mandate. that all pre. idential elector vote for
President and Vice Pre ident of the United States on December 14, 2020, it i impo sible to pursue
the Legislature    preferred course of action, which wou ld b for Arizona'      oter to participate in
a new and fair and free pre. idential election before that date; and




WHEREAS in view of the fact heretofore recited , the Legislature is required to exer i e its best
judgment a to which . late of electors the voters prefer and



WHEREAS legal precedent exi t. where in 1960 the State of Hawaii ent an alternate late of
electors while the Presidential election wa      till in que tion in order to meet the deadline of
. electing elector and upon recount the alternate . late of elector.' ballots were ultimalely counted:
and



WHEREAS , the undersigned ha e an obligation to find the tru h .           or thi rea. on on everal
occasion    ince   ovember 3, we tate lawmakers ha e requested fact-finding hearing to in lude
a comprehen ive and independent foren. ic audit. At th.is time, no such audiL has been aulhorized.
This leave the uncertainty of the elec ion r~ ult in a tale that require further invesl'igation and
re. olution; and
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 igned thi~ day •. 14 0 - emb r, 2020.




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